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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

GODO KAISHA IP BRIDGE 1,                         §
                                                 §
       Plaintiff,                                §
                                                 §
                                                             Case No. 2:21-CV-213-JRG
       v.                                        §
                                                                    (Lead Case)
                                                 §
TELEFONAKTIEBOLAGET LM                           §
                                                             JURY TRIAL DEMANDED
ERICSSON and ERICSSON INC.,                      §
                                                 §
       Defendants.                               §
                                                 §
GODO KAISHA IP BRIDGE 1,                         §
                                                 §
       Plaintiff,                                §
                                                 §
       v.                                        §           Case No. 2:21-CV-215-JRG
                                                 §                (Member Case)
NOKIA CORPORATION, NOKIA                         §
SOLUTIONS AND NETWORKS OY, and                   §           JURY TRIAL DEMANDED
NOKIA OF AMERICA CORPORATION,                    §
                                                 §
       Defendants.                               §
                                                 §


   JOINT MOTION TO STAY ALL DEADLINES AND NOTICE OF SETTLEMENT

       Plaintiff Godo Kaisha IP Bridge 1 (“Plaintiff” or “IP Bridge”) and Defendants Nokia

Solutions and Networks Oy and Nokia of America Corporation (“Defendant” or “Nokia”) have

settled, in principle, all matters in controversy in the above-captioned action between the parties.

Accordingly, the parties jointly move the Court to stay any and all unreached deadlines in this

action for sixty (60) days in order to finalize the settlement of this matter and file appropriate

dismissal papers.
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Dated: November 8, 2022                Respectfully submitted,

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                                       /s/ John D. Haynes

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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that counsel of record who are deemed to have consented

to electronic services are being served with a copy of this document via the Court’s CM/ECF

system per Local Rule CV-5(a)(3) on November 8, 2022.

                                                    /s/ John D. Haynes
                                                    John D. Haynes


                             CERTIFICATE OF CONFERENCE

       I hereby certify that counsel for the Parties have complied with the meet and confer

requirement regarding this Motion. The Parties are in agreement and are seeking joint relief.

                                                    /s/ John D. Haynes
                                                    John D. Haynes
